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 7
 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10
11   FRANCISCA MORALEZ,                                ) No.
                                                       )
12                    Plaintiff,                       ) COMPLAINT ASSERTING DENIAL OF
                                                       ) RIGHT OF ACCESS UNDER THE
13           vs.                                       ) AMERICANS WITH DISABILITIES ACT
                                                       )
14   THREE STONE HEARTH LLC; HON                       ) FOR INJUNCTIVE RELIEF,
     MANAGEMENT, INC.,                                 ) DECLARATORY RELIEF, DAMAGES,
15                                                     ) ATTORNEYS’ FEES AND COSTS (ADA)
                                                       )
16                    Defendants.                      )
                                                       )
17                                                     )
                                                       )
18
19                                               I. SUMMARY
20           1.       This is a civil rights action by plaintiff FRANCISCA MORALEZ (“Plaintiff”)
21   for discrimination at the building, structure, facility, complex, property, land, development,
22   and/or surrounding business complex known as:
23                    Three Stone Hearth
                      1581 University Avenue
24                    Berkeley, California 94703
25                     (hereafter “the Facility”)

26           2.       Plaintiff seeks damages, injunctive and declaratory relief, attorney fees and
27   costs, against THREE STONE HEARTH LLC dba THREE STONE HEARTH; HON
28   MANAGEMENT, INC. (hereinafter collectively referred to as “Defendants”), pursuant to Title



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 1   III of the Americans with Disabilities Act of 1990 (42 U.S.C. §§ 12101 et seq.) (“ADA”) and
 2   related California statutes.
 3                                           II.         JURISDICTION
 4             3.     This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA
 5   claims.
 6             4.     Supplemental jurisdiction for claims brought under parallel California law –
 7   arising from the same nucleus of operative facts – is predicated on 28 U.S.C. § 1367.
 8             5.     Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
 9                                                 III.     VENUE
10             6.     All actions complained of herein take place within the jurisdiction of the United
11   States District Court, Northern District of California, and venue is invoked pursuant to 28
12   U.S.C. § 1391(b), (c).
13                                                 IV.     PARTIES
14             7.     Defendants own, operate, and/or lease the Facility, and consist of a person (or
15   persons), firm, and/or corporation.
16             8.     Plaintiff is substantially limited in her ability to walk, and must use a wheelchair
17   for mobility. Consequently, Plaintiff is “physically disabled,” as defined by all applicable
18   California and United States laws, and a member of the public whose rights are protected by
19   these laws.
20                                                  V.       FACTS
21             9.     The Facility is open to the public, intended for non-residential use, and its
22   operation affects commerce. The Facility is therefore a public accommodation as defined by
23   applicable state and federal laws.
24             10.    Plaintiff is a California resident who regularly travels to the area where the
25   Facility is located and visited the Facility multiple times, including on or about September 22,
26   2022, October 22, 2022, and November 3, 2022 to purchase groceries. During her visits to the
27   Facility, Plaintiff personally encountered barriers (both physical and intangible) that interfered
28   with, if not outright denied, Plaintiff’s ability to use and enjoy the goods, services, privileges



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 1   and accommodations offered at the Facility. These barriers include, but are not necessarily
 2   limited to, the following:
 3                    a)       On November 3, 2022, Plaintiff noticed there were multiple vehicles
 4                             parked in the designated accessible parking space without proper
 5                             placards. Plaintiff had to wait for over an hour for one of the vehicles
 6                             without such proper placard to leave the designated accessible parking
 7                             space so she could park her van there.
 8                    b)       During each of her visits, once Plaintiff deployed her ramp, she had
 9                             difficulty exiting and entering her van as there were slopes located
10                             within the designated accessible parking space and adjacent aisle. The
11                             excessive slope required her to back her wheelchair up the ramp in
12                             reverse to enter the vehicle, which was difficult to perform.
13                    c)       During each of her visits, Plaintiff had difficulty travelling to and from
14                             the Facility entrance as the route of travel from the designated accessible
15                             parking was rough and uneven, with dangerous excessive running
16                             slopes, cross-slopes and changes in level.
17                    d)       During each of her visits, Plaintiff had difficulty reaching the counter to
18                             return jars and lids because the surface was too high.
19                    e)       During each of her visits, it was challenging for Plaintiff to maneuver
20                             inside the Facility due to the uneven floor surface in several locations.
21                    f)       During each of Plaintiff’s visits, she had difficulty opening the doors to
22                             the freezers as well as keeping them open. The freezer door felt heavy,
23                             would not stay open and would hit her knees or arms causing her pain.
24                    g)       During each of her visits, Plaintiff was not able to reach the items on
25                             shelves as they were too high, and the Facility lacked any signage
26                             regarding how to request assistance. Plaintiff was unable to get any
27                             assistance with purchasing items that she wanted to buy.
28                    h)       During each of her visits, the transaction counter was too high for



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 1                             Plaintiff to put her items on the surface and to see the prompts on the
 2                             payment device.
 3                    i)       Plaintiff requested alternative accommodations so that she would be able
 4                             to obtain the goods and services offered at the Facility without having to
 5                             encounter these barriers, but Defendants failed to provide such
 6                             accommodations.
 7           11.      There may exist other barriers at the Facility which relate to Plaintiff’s
 8   disabilities, and she will seek to amend this Complaint once such additional barriers are
 9   identified as it is Plaintiff’s intention to have all barriers which exist at the Facility and relate to
10   her disabilities removed to afford her full and equal access.
11           12.      Plaintiff was, and continues to be, deterred from visiting the Facility because
12   Plaintiff knows that the Facility’s goods, services, facilities, privileges, advantages, and
13   accommodations were and are unavailable to Plaintiff due to Plaintiff’s physical disabilities.
14   Plaintiff enjoys the goods and services offered at the Facility, and will return to the Facility
15   once the barriers are removed.
16           13.      Defendants knew, or should have known, that these elements and areas of the
17   Facility were inaccessible, violate state and federal law, and interfere with (or deny) access to
18   the physically disabled. Moreover, Defendants have the financial resources to remove these
19   barriers from the Facility (without much difficulty or expense), and make the Facility
20   accessible to the physically disabled. To date, however, Defendants refuse to either remove
21   those barriers or seek an unreasonable hardship exemption to excuse non-compliance.
22           14.      At all relevant times, Defendants have possessed and enjoyed sufficient control
23   and authority to modify the Facility to remove impediments to wheelchair access and to
24   comply with the 1991 ADA Accessibility Guidelines and/or the 2010 ADA Standards for
25   Accessible Design. Defendants have not removed such impediments and have not modified the
26   Facility to conform to accessibility standards. Defendants have intentionally maintained the
27   Facility in its current condition and have intentionally refrained from altering the Facility so
28   that it complies with the accessibility standards.



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 1           15.      Plaintiff further alleges that the (continued) presence of barriers at the Facility is
 2   so obvious as to establish Defendants’ discriminatory intent. On information and belief,
 3   Plaintiff avers that evidence of this discriminatory intent includes Defendants’ refusal to adhere
 4   to relevant building standards; disregard for the building plans and permits issued for the
 5   Facility; conscientious decision to maintain the architectural layout (as it currently exists) at the
 6   Facility; decision not to remove barriers from the Facility; and allowance that Defendants’
 7   property continues to exist in its non-compliant state. Plaintiff further alleges, on information
 8   and belief, that the Facility is not in the midst of a remodel, and that the barriers present at the
 9   Facility are not isolated or temporary interruptions in access due to maintenance or repairs.
10                                               VI.   FIRST CLAIM
11                                    Americans with Disabilities Act of 1990
12                                 Denial of “Full and Equal” Enjoyment and Use
13           16.      Plaintiff re-pleads and incorporates by reference the allegations contained in
14   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
15           17.      Title III of the ADA holds as a “general rule” that no individual shall be
16   discriminated against on the basis of disability in the full and equal enjoyment (or use) of
17   goods, services, facilities, privileges, and accommodations offered by any person who owns,
18   operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
19           18.      Defendants discriminated against Plaintiff by denying Plaintiff “full and equal
20   enjoyment” and use of the goods, services, facilities, privileges and accommodations of the
21   Facility during each visit and each incident of deterrence.
22                       Failure to Remove Architectural Barriers in an Existing Facility
23           19.      The ADA specifically prohibits failing to remove architectural barriers, which
24   are structural in nature, in existing facilities where such removal is readily achievable. 42
25   U.S.C. § 12182(b)(2)(A)(iv).
26           20.      When an entity can demonstrate that removal of a barrier is not readily
27   achievable, a failure to make goods, services, facilities, or accommodations available through
28   alternative methods is also specifically prohibited if these methods are readily achievable. Id.



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 1   § 12182(b)(2)(A)(v).
 2            21.      Here, Plaintiff alleges that Defendants can easily remove the architectural
 3   barriers at the Facility without much difficulty or expense, that the cost of removing the
 4   architectural barriers does not exceed the benefits under the particular circumstances, and that
 5   Defendants violated the ADA by failing to remove those barriers, when it was readily
 6   achievable to do so.
 7            22.      In the alternative, if it was not “readily achievable” for Defendants to remove
 8   the Facility’s barriers, then Defendants violated the ADA by failing to make the required
 9   services available through alternative methods, which are readily achievable.
10                                Failure to Design and Construct an Accessible Facility
11            23.      Plaintiff alleges on information and belief that the Facility was designed and
12   constructed (or both) after January 26, 1993 – independently triggering access requirements
13   under Title III of the ADA.
14            24.      The ADA also prohibits designing and constructing facilities for first occupancy
15   after January 26, 1993, that aren’t readily accessible to, and usable by, individuals with
16   disabilities when it was structurally practicable to do so. 42 U.S.C. § 12183(a)(1).
17            25.      Here, Defendants violated the ADA by designing and constructing (or both) the
18   Facility in a manner that was not readily accessible to the physically disabled public –
19   including Plaintiff – when it was structurally practical to do so.1
20                                     Failure to Make an Altered Facility Accessible
21            26.      Plaintiff alleges on information and belief that the Facility was modified after
22   January 26, 1993, independently triggering access requirements under the ADA.
23            27.      The ADA also requires that facilities altered in a manner that affects (or could
24   affect) its usability must be made readily accessible to individuals with disabilities to the
25   maximum extent feasible. 42 U.S.C. § 12183(a)(2). Altering an area that contains a facility’s
26   primary function also requires making the paths of travel, bathrooms, telephones, and drinking
27   fountains serving that area accessible to the maximum extent feasible. Id.
28   1
      Nothing within this Complaint should be construed as an allegation that Plaintiff is bringing this action as a
     private attorney general under either state or federal statutes.


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 1              28.   Here, Defendants altered the Facility in a manner that violated the ADA and
 2   was not readily accessible to the physically disabled public – including Plaintiff – to the
 3   maximum extent feasible.
 4                                 Failure to Modify Existing Policies and Procedures
 5              29.   The ADA also requires reasonable modifications in policies, practices, or
 6   procedures, when necessary to afford such goods, services, facilities, or accommodations to
 7   individuals with disabilities, unless the entity can demonstrate that making such modifications
 8   would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).
 9              30.   Here, Defendants violated the ADA by failing to make reasonable modifications
10   in policies, practices, or procedures at the Facility, when these modifications were necessary to
11   afford (and would not fundamentally alter the nature of) these goods, services, facilities, or
12   accommodations.
13                                       Failure to Maintain Accessible Features
14              31.   Defendants additionally violated the ADA by failing to maintain in operable
15   working condition those features of the Facility that are required to be readily accessible to and
16   usable by persons with disabilities.
17              32.   Such failure by Defendants to maintain the Facility in an accessible condition
18   was not an isolated or temporary interruption in service or access due to maintenance or
19   repairs.
20              33.   Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney
21   fees, costs, legal expense) for these aforementioned violations. 42 U.S.C. § 12205.
22              34.   Plaintiff seeks a finding from this Court (i.e., declaratory relief) that Defendants
23   violated the ADA in order to pursue damages under California’s Unruh Civil Rights Act.
24                                          VII.   SECOND CLAIM
25                                                 Unruh Act
26              35.   Plaintiff re-pleads and incorporates by reference the allegations contained in
27   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
28   //



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 1           36.      California Civil Code § 51 states, in part, that: All persons within the
 2   jurisdiction of this state are entitled to the full and equal accommodations, advantages,
 3   facilities, privileges, or services in all business establishments of every kind whatsoever.
 4           37.      California Civil Code § 51.5 also states, in part that: No business establishment
 5   of any kind whatsoever shall discriminate against any person in this state because of the
 6   disability of the person.
 7           38.      California Civil Code § 51(f) specifically incorporates (by reference) an
 8   individual’s rights under the ADA into the Unruh Act.
 9           39.      Defendants’ aforementioned acts and omissions denied the physically disabled
10   public – including Plaintiff – full and equal accommodations, advantages, facilities, privileges
11   and services in a business establishment (because of their physical disability).
12           40.      These acts and omissions (including the ones that violate the ADA) denied,
13   aided or incited a denial, or discriminated against Plaintiff by violating the Unruh Act.
14           41.      Plaintiff was damaged by Defendants’ wrongful conduct, and seeks statutory
15   minimum damages of $4,000 for each offense.
16           42.      Plaintiff also seeks to enjoin Defendants from violating the Unruh Act (and
17   ADA), and recover reasonable attorneys’ fees and costs incurred under California Civil Code
18   § 52(a).
19                                               VIII. THIRD CLAIM
20                          Denial of Full and Equal Access to Public Facilities
21           43.      Plaintiff re-pleads and incorporates by reference the allegations contained in
22   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
23           44.      Health and Safety Code § 19955(a) states, in part, that: California public
24   accommodations or facilities (built with private funds) shall adhere to the provisions of
25   Government Code § 4450.
26           45.      Health and Safety Code § 19959 states, in part, that: Every existing (non-
27   exempt) public accommodation constructed prior to July 1, 1970, which is altered or
28   structurally repaired, is required to comply with this chapter.



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 1              46.      Plaintiff alleges the Facility is a public accommodation constructed, altered, or
 2   repaired in a manner that violates Part 5.5 of the Health and Safety Code or Government Code
 3   § 4450 (or both), and that the Facility was not exempt under Health and Safety Code § 19956.
 4              47.      Defendants’ non-compliance with these requirements at the Facility aggrieved
 5   (or potentially aggrieved) Plaintiff and other persons with physical disabilities. Accordingly,
 6   Plaintiff seeks injunctive relief and attorney fees pursuant to Health and Safety Code § 19953.
 7                                          IX.      PRAYER FOR RELIEF
 8              WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, for:
 9              1.       Injunctive relief, preventive relief, or any other relief the Court deems proper.
10              2.       Statutory minimum damages under section 52(a) of the California Civil Code
11                       according to proof.
12              3.       Declaratory relief finding that Defendants violated the ADA for the purposes of
13                       Unruh Act damages.
14              4.       Attorneys’ fees, litigation expenses, and costs of suit.2
15              5.       Interest at the legal rate from the date of the filing of this action.
16              6.       For such other and further relief as the Court deems proper.
17
     Dated: 12/20/2023                                      MOORE LAW FIRM, P.C.
18
19                                                          /s/ Tanya E. Moore
                                                            Tanya E. Moore
20
                                                            Attorney for Plaintiff
21                                                          Francisca Moralez

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28   2
         This includes attorneys’ fees under California Code of Civil Procedure § 1021.5.



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 1
                                                 VERIFICATION
 2
 3
              I, FRANCISCA MORALEZ, am the plaintiff in the above-entitled action. I have read
 4
     the foregoing Complaint and know the contents thereof. The same is true of my own
 5
     knowledge, except as to those matters which are therein alleged on information and belief, and
 6
     as to those matters, I believe them to be true.
 7
              I verify under penalty of perjury that the foregoing is true and correct.
 8
 9
10
     Dated:     12/20/2023                                   /s/ Francisca Moralez
11                                                     Francisca Moralez
12
13           I attest that the original signature of the person whose electronic signature is shown
     above is maintained by me, and that her concurrence in the filing of this document and
14   attribution of her signature was obtained.
15                                                            /s/ Tanya E. Moore
16                                                     Tanya E. Moore
                                                       Attorney for Plaintiff,
17                                                     FRANCISCA MORALEZ
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